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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION

  UNITED STATES OF AMERICA,                                   Case No: 4:22-cr-199

             Plaintiff,                                       DEFENDANT WENDT’S
                                                              MOTION FOR DISCOVERY
  vs.                                                         SANCTIONS

  BRADLEY EUGENE WENDT,

             Defendant.


        Defendant Bradley Eugene Wendt (“Wendt”) hereby moves for sanctions against the

Government. Specifically, the Government has failed to comply with the Court’s Order

Sustaining in Part and Overruling in Part Appeal from Magistrate Judge Order (Dkt. # 261) (the

“Order”). The Government has continued to fail or refuse to produce certain important discovery

regarding ATF NFA Division guidance/SOPs, communications, and data. Further, with respect

to some of that discovery, there appears to be a failure to preserve or collect that information

from the ATF NFA Division.

        WHEREFORE, Wendt respectfully requests the following:

        1.        Production of Discovery – An order requiring the Government to comply with

the Court’s August 17, 2023 Order and produce:

        a.        Email correspondence and all other communications in response to category #1.

        b.        Guidance and SOPs in response to category #2.

        c.        The national data that the ATF NFA Division has compiled and previously

                  reported either internally or externally in response to category #3.

        d.        A complete response to category #4 including the possession of machine guns and

                  the identification of the law enforcement agency.


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       2.         Discovery Protocol & Hearing – A filing from the Government explaining the

preservation, collection, and production protocol that was used in this case, to be followed by a

hearing with the applicable custodians responsible for the collection of documents from the ATF

NFA Division (with those custodians appearing by video if necessary or, in the alternative, allow

the defense to take their depositions). There will not be another opportunity to create such a

record and the denial of the ability to create a record would severely prejudice the defense and its

ability to prepare for trial. At trial, the Government will simply not call witnesses with missing

communications and not call the requisite custodians. Further, the Government will attempt to

block ATF NFA employees from testifying based on Touhy regulations. While the Government

may control the charges, it should not be able to control the facts, too.

       3.         Sanctions – Sanctions to include dismissal, exclusion of witnesses and evidence,

and/or a spoliation instruction at trial. It would be an unjust and perverse result to allow the

Government to make their case based the importance of what Wendt said he was doing, to

capture all of his email, social media, text messages, etc., and then to deny the same to Wendt

when it was the Government that has brought the case against him. Likewise, it would be unjust

and produce an unfair trial to allow the Government to (a) introduce evidence on a subject on

which it has not fully complied with its discovery obligations or (b) call a witness for whom it

has not provided all discovery. These may need to be decisions made as trial approaches, but a

record regarding the preservation and collection of that discovery is necessary now. In that

regard, Wendt reserves all objections to evidence the Government may wish to produce at trial,

including but not limited to the Government’s failure to disclose or produce discovery favorable

to the defense.




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Dated: September 14, 2023                        FAEGRE DRINKER BIDDLE & REATH LLP

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                                                 ATTORNEYS FOR DEFENDANT WENDT


                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 14th day of September, 2023, I electronically filed the

foregoing document with the Clerk of Court using the ECF system which will serve it on the

appropriate parties.


                                                              /s/ Paulette Ohnemus
US.359485881.01




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